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                IN THE UNITED STATES DISTRICT COURT FOR THE
                     WESTERN DISTRICT OF PENNSYLVANIA
                               ERIE DIVISION
                                               :
                                               :
 RANDY J. SPENCER,                             : Docket No. 1:23-cv-00036-SPB
     Plaintiff                                 :
                                               : Electronically Filed
 v.                                            :
                                               :
                                               :
 MATT MCSPARREN, BOB BETZOLD,                  :
 FRED BUCKHOLTZ, and REGINA                    :
 DELOE, ERIC HEIL, and TOWNSHIP                :
 OF CRANBERRY                                  : JURY TRIAL DEMANDED
       Defendants


                  CERTIFICATE PURSUANT TO F.R.CIV.P.37(A)(1)

      Counsel for the Movant, Timothy D. McNair, hereby certifies that, in accordance
with F.R.Civ.P 37(a)(1), he conferred with counsel for Defendants, Justin A.
Zimmerman, Esquire, in an effort to obtain the requested discovery without court
action. Specifically, Counsel for Plaintiff spoke with Mr., Zimmerman on August 7, 2024
requesting responses to the discovery. Mr. Zimmerman, Counsel for Defendants,
indicated that he was declining to do so.

      On August 9, counsel for Plaintiff provided Mr. Zimmerman with the motion
being filed herewith, but has received no response and accordingly is filing the motion.

                                            Respectfully submitted,
                                            MCNAIR LAW OFFICES, PLLC
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